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 6
 7   Attorneys for Defendants Center for
     Countering Digital Hate, Inc. and
 8
     Center for Countering Digital Hate Ltd.
 9
10                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                 SAN FRANCISCO DIVISION
12
       X CORP.,                                             
13                                    Plaintiff,                Case No. 3:23-cv-03836-CRB
14               v.                                             DECLARATION OF MARC S.
15                                                              WILLIAMS IN SUPPORT OF
       CENTER FOR COUNTERING DIGITAL                            CCDH’S MOTION FOR FEES AND
16     HATE, INC., et al.,                                      COSTS PURSUANT TO CAL.
                                                                CODE CIV. PROC. § 425.16
17
                                                            




                                      Defendants.
18
19
     I, Marc S. Williams, declare as follows:
20
            1.        I am a partner in the law firm Cohen Williams LLP (“Cohen Williams” or “CW”),
21
     attorneys for Defendants Center for Countering Digital Hate, Inc. and Center for Countering
22
     Digital Hate Ltd. (collectively, the “CCDH Defendants”). I submit this declaration in support of
23
     the CCDH Defendants’ motion for attorney’s fees and costs pursuant to California Code of Civil
24
     Procedure § 425.16(c)(1). All statements in this declaration are based upon my personal
25
     knowledge and, if called upon to testify, I could and would testify to the facts set forth below.
26
            2.        Cohen Williams, a boutique law firm based in Los Angeles, served as co-counsel
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     for the CCDH Defendants. As set forth in greater detail in the Fees Spreadsheet (Exhibit E to the
28
     Quinn Declaration), the CCDH Defendants seek to recover a total of $8,566.48 in fees and costs


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 1   based on CW’s efforts.
 2           3.      The Fees Spreadsheet delineates the efforts that I, managing partner at Cohen
 3   Williams, and Neil S. Jahss, counsel at Cohen Williams, put towards the CCDH Defendants’
 4   successful anti-SLAPP motion.
 5           4.      The CW website biographies of the attorneys who worked on this matter are
 6   attached as Exhibit G. Those biographies are summarized below.
 7           5.      As the managing partner and with the consultation of other partners at CW, I set
 8   the rates for the attorneys and paralegals at the firm. I determine CW’s billing rates based on the
 9   experience and skill level of CW’s personnel, as well as my knowledge of the Los Angeles legal
10   market from conversations with (a) present colleagues who previously worked at other firms, (b)
11   clients who have received pitches from competitors, (c) former co-workers who practice at other
12   firms, (d) co-and joint defense counsel, and (e) other lawyers at professional and social events. I
13   am confident that CW’s billing rates are comparable to, if not lower than, those charged by other
14   Los Angeles litigation boutiques of comparable skill, reputation, and experience.
15           6.      In addition to being the managing partner, I am the co-founder of CW. For purposes
16   of this fee motion, the CCDH Defendants seek reimbursement for 1.8 hours of my work in
17   connection with the anti-SLAPP motion. I am predominantly a civil business litigator, and I have
18   represented clients in all stages of litigation, including trial, appeals, investigations, arbitrations,
19   and mediations. Over the course of my 25-year legal career, I have tried more than 10 cases. Before
20   forming CW, I was a partner at One LLP, a boutique litigation firm. Previously, I spent ten years
21   as a litigator at O’Melveny & Myers LLP, where I met Mr. Jahss. I served as a law clerk to the
22   Honorable Kim McLane Wardlaw of the Ninth Circuit and graduated from the University of
23   Southern California Law School. Although other partners at CW and I currently charge clients up
24   to $825/hour for our legal services, I billed the CCDH Defendants at the discounted rate of
25   $600/hour for my work.
26           7.      For purposes of this fee motion, the CCDH Defendants seek reimbursement for
27   13.4 hours of Mr. Jahss’s work in connection with the anti-SLAPP motion. He has been counsel
28   for nearly five years at CW, with the focus of his practice being law-and-motion and appellate



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 1   work. Prior to joining CW, he spent 12 years as a civil litigator at O’Melveny, where he authored
 2   and argued numerous dispositive motions leading to dismissal of cases in state and federal courts
 3   where clients were exposed to several millions of dollars in liability. Mr. Jahss also served on
 4   teams that secured two significant victories at trial, including one for a copyright plaintiff (after
 5   the case made its way through the United States Supreme Court) and the other for a libel defendant.
 6   Before practicing, he graduated cum laude from Harvard Law School. Although CW currently
 7   charges clients up to $690/hour for Mr. Jahss’s legal services, I billed the CCDH Defendants at
 8   the discounted rate of $550/hour for his work.
 9          8.      Mr. Jahss and I kept daily, contemporaneous time records containing descriptions
10   of the work that we did and the amount of time that we spent in doing it. I reviewed these time
11   records to verify the accuracy, appropriateness, and fairness of the bills incurred by the CCDH
12   Defendants in connection with CW’s representation before invoicing the CCDH Defendants.
13          9.      In addition to these fees for CW professionals discussed above, the CCDH
14   Defendants incurred costs in connection with their anti-SLAPP motion. CW maintains records of
15   such costs in the regular course of business. I have reviewed CW’s record of costs for this case,
16   and I am familiar with these records and the processes by which they are created and maintained.
17          10.     The only CW costs for which the CCDH Defendants seek recovery in connection
18   with this matter are courier costs—specifically, $105.30 incurred on November 17, 2023 in
19   connection with courtesy copies of the anti-SLAPP motion, and $50.00 incurred on January 10,
20   2024 in connection with courtesy copies of the reply in support of the anti-SLAPP motion.
21          11.     These costs are correctly stated, allowable by law, and were necessarily incurred.
22          12.     For purposes of this motion, applying a 25% discount to account for X Corp.’s
23   federal CFAA claim (and exempting any costs pertaining solely to this motion for attorney’s fees
24   and costs from this discount), the CCDH Defendants seek $116.48 in courier costs.
25
26          I declare under penalty of perjury that the foregoing is true and correct.
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 1   Dated: Los Angeles, California               /s/ Marc S. Williams
            April 8, 2024                         Marc S. Williams
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